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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-CR-20804-SINGHAL

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

ASHLEIGH HOLLOWAY,

Defendant.
i

 

STIPULATED MOTION FOR SUBSTITUTION OF COUNSEL
AS IT IS STIPULATED by and between, Seda Aktas, B.C.S., present counsel for
the Defendant, ASHLEIGH HOLLOWAY, and Paul D. Petruzzi, Esq., that Paul D.
Petruzzi, Esq., be substituted as counsel of record for the Defendant, ASHLEIGH
HOLLOWAY. Seda Aktas, B.C.S., together with Paul D. Petruzzi, Esq., respectfully
request this Honorable Court enter an order of substitution of counsel for ASHLEIGH
HOLLOWAY in the above-styled case.

Respectfully submitted,

    

 

 

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SEDA AKTAS, B.C.S. _- PAUL PETRUZZI, ESQ.

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LAW OFFICES OF PAUL D. PETRUZZi, P.A.

 

 
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CERTIFICATE OF SERVICE
| HEREBY CERTIFY that on September 27, 2021, a true and correct copy

of the foregoing was furnished by CM/ECF to all counsel of record.

By:

 

_-PAUL D-PETRUZZI, ESQ.

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LAW OFFICES OF PAUL D. PETRUZZI,P.A.

 

 
